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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


JOHNNY GRAYS,
    Plaintiff,

v.                                                              Case No. 21-10526

ALEJANDRO N. MAYORKAS, SECRETARY,
U.S. DEPARTMENT OF HOMELAND SECURITY
      Defendants.
                                /

                      ORDER DENYING WITHOUT PREJUDICE
                   PLAINTIFF’S MOTION TO COMPEL RESPONSES

       Plaintiff presents a motion to compel responses to discovery demands. Upon

review of the motion and supporting brief, there appears to be no indication that movant

has met, conferred, or otherwise attempted to reach resolution short of a motion.

       Federal Rule of Civil Procedure 37, provides in part that “a party may move for

an order compelling disclosure or discovery. The motion must include a certification that

the movant has in good faith conferred or attempted to confer with the person or party

failing to make disclosure or discovery in an effort to obtain it without court action. This

court’s Local Rules provide the same. See E.D. Mich. LR 7.1(a).

       IT IS ORDERED that Plaintiff’s motion (ECF No. 26) is DENIED without

prejudice.

       Any subsequent motion must provide a certification that includes a detailed

explanation of who conferred, when, and what was discussed in an effort to reach an

agreed resolution.
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                                                                     s/Robert H. Cleland
                                                                     ROBERT H. CLELAND
                                                                     UNITED STATES DISTRICT JUDGE


I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, December 3, 2021, by electronic and/or ordinary mail.

                                                                     s/Lisa Wagner
                                                                     Case Manager and Deputy Clerk
                                                                     (810) 292-6522
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